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                     UNITED STATES DISTRICT COURT

                    WESTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                      *CRIMINAL NO. 6:15-0080-02

VERSUS                                        *JUDGE HAIK

STEVEN PAUL BANKS                             *MAGISTRATE JUDGE HANNA


                 REPORT AND RECOMMENDATION
                     ON FELONY GUILTY PLEA
           BEFORE THE UNITED STATES MAGISTRATE JUDGE

      Pursuant to Title 28, United States Code, Section 636(b), and with the written

and oral consent of the defendant, this matter has been referred by the District Court

for administration of Guilty Plea and Allocution under Rule 11 of the Federal Rules

of Criminal Procedure.

      This cause came before the undersigned United States Magistrate Judge for a

change-of-plea hearing and allocution of the defendant, Steven Paul Banks, on

October 5, 2015. The defendant was present with his counsel Franklin White

Dawkins.

      After the hearing and for the reasons orally assigned, the undersigned finds that

the defendant is fully competent, that his guilty plea is knowing and voluntary, and

that his guilty plea to Count One of the Indictment is fully supported by a written

factual basis for each of the essential elements of the offense.
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       Therefore, the undersigned United States Magistrate Judge recommends that

the District Court ACCEPT the guilty plea of the defendant, Steven Paul Banks, in

accordance with the terms of the plea agreement filed in the record of these

proceedings, and that Steven Paul Banks be finally adjudged guilty of the offense

charged in Count One of the Indictment.

       Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Crim. P.

59(b)(2), the parties have fourteen (14) days from service of this Report and

Recommendation to file specific, written objections with the Clerk of Court. A party

may respond to another party’s objections within fourteen (14) days after being

served with a copy thereof. A courtesy copy of any objection or response or request

for extension of time shall be furnished to the District Judge at the time of filing.

Timely objections will be considered by the District Judge before he / she makes a

final ruling.

       A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE

PROPOSED FINDINGS, CONCLUSIONS, AND RECOMMENDATIONS

CONTAINED IN THIS REPORT WITHIN FOURTEEN (14) DAYS FROM

THE DATE OF ITS SERVICE SHALL BAR AN AGGRIEVED PARTY,

EXCEPT ON GROUNDS OF PLAIN ERROR, FROM ATTACKING ON

APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL FINDINGS AND

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LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

      THUS DONE AND SIGNED in chambers in Lafayette, Louisiana, on this the

13th day of October, 2015.


                                   ____________________________________
                                   PATRICK J. HANNA
                                   UNITED STATES MAGISTRATE JUDGE




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